
In re: Robert Benitez applying for Remedial Writs of Mandamus, Prohibition and Habeas Corpus.
Granted. (See Order)
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable John S. Covington, Judge of the Nineteenth Judicial District, Court for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 17th day of May, 1974, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 26th day of August, 1974, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
On Joint Motion to Dismiss.
Motion granted and case dismissed.
